    Case 18-24439-JAD            Doc 48      Filed 09/03/19 Entered 09/03/19 15:34:49                     Desc Main
                                             Document     Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF WESTERN PENNSYLVANIA
                                          Proceeding Memo
C onciliation Conference:
                    Debtor:   MICHAEL A. & BREANNE M. DEEB
              Case Number:    18-24439-JAD            Chapter: 7
       Date/ Time/ Room:      TUESDAY, SEPTEMBER 03, 2019 10:00 AM COURTROOM D
      Bankruptcy Judge:       JEFFERY A. DELLER
         Courtroom Clerk:     SCOTT KOZAR
          Reporter/ ECR:      NIA

Matter:
          Motion To Sell Real Estate Free and Clear of Third Party Interests, Liens, Claims, Charges and/or Encumbrances filed by
          Natalie Lutz Cardiello, Chapter 7 Trustee
          - No Response Filed (Due 8/27/2019]
          - Proof of Publication in Butler County Legal Journal and Butler Eagle filed 8/29/2019@ Doc. #46
          R/ M #: 43 / 0


Appearances:
       CHAPTER 7 TRUSTEE Natalie Lutz Cardiello, Esq.
       DEBTOR(S) Kenneth Steidl, Esq.
       CREDITOR(S):
       CREDITOR(S)

Proceedings:



                   For At Least ___ Days (Court To Issue Scheduling Order)
                __ To Hearing Date Of ________ at ___ AM/PM at

                        To Conciliation Conference For _________ at
                          ____ AM/PM at ________________
               ISSUE EVIDENTIARY HEARING NOTICE
                 __ Evidentiary Hearing On Value And Cram-Down Interest
                 __ Complex / Pretrial Order - NONJURY / JURY
                 __ Simple/ Pretrial Order - NONJURY / JURY
                 __ Parties To Undertake Discovery - Discovery Period: __ days
                 SETTLEM ENT STIPULATION IS DUE _____ _____ __
                 OTHER:




  - Order entered 9/3/2019 Granting Motion.                                            FILED
    Sale Confirmed Free and Divested of Liens.                                         9/3/19 3:06 pm
                                                                                       CLERK
                                                                                       U.S. BANKRUPTCY
                                                        JEFFERY A. DELLER              COURT - WDPA
                                                        U.S. Bankruptcy Judge




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